     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 1 of 46 Page ID #:1



1    Brian C. Holloway, Esq. (State Bar No. 335408)
     HOLLOWAY INTELLECTUAL PROPERTY, PLLC
2
     535 16th Avenue E
3    Seattle, Washington, 98112
4
     (323) 616-3666 -Telephone
     brian@hollowayip.org
5

6

7

8
                             UNITED STATES DISTRICT COURT
9
                            CENTRAL DISTRICT OF CALIFORNIA
10

11
     SOCIAL POSITIONING INPUT                    Case No.:
     SYSTEMS, LLC,
12
                    Plaintiff,                   COMPLAINT FOR PATENT
13
                                                 INFRINGEMENT
14   vs.
15                                               DEMAND FOR A JURY TRIAL
     EXAKTIME INNOVATIONS, INC.,
16
                    Defendant
17

18

19
              Plaintiff Social Positioning Input Systems LLC, (“SPIS”), by and through its

20   undersigned counsel, submits the following Complaint against Defendant
21
     Exaktime, LLC (“Exak”).
22

23                                        I.    PARTIES
24
           1. SPIS is a Texas limited liability company with an address at 1 East Broward
25

26
              Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

27

28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 1
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 2 of 46 Page ID #:2



1       2. Defendant Exak is a California corporation, principal place of business, at
2
           27001 Agoura Road, Suite 280, Calabasas, California, 91301, and may be
3

4          served through their registered agent John O’Hara at the same address.
5
        3. On information and belief, Defendant uses, sells, and offers to sell products
6

7
           and services throughout the United States, including in this judicial district,

8          and introduces products and services into the stream of commerce that
9
           incorporate infringing technology knowing that they would be sold in this
10

11         judicial district and elsewhere in the United States.
12
                              II.   JURISDICTION AND VENUE
13

14
        4. This action arises under the patent laws of the United States, 35 U.S.C. §

15         101 et seq.
16
        5. The Court has subject matter jurisdiction over this case pursuant to 28 U.S.C.
17

18         §1331 (federal question jurisdiction) and 28 U.S.C. § 1338 (jurisdiction over
19
           patent actions).
20

21
        6. This Court has personal jurisdiction over Exak because, on information and

22         belief, Defendant has committed and continues to commit the acts violating
23
           SPIS’s intellectual property described herein within the State of California,
24

25         including in this Central District of California, and by placing infringing
26
           products into the stream of commerce.
27

28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 2
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 3 of 46 Page ID #:3



1       7. Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 28 U.S.C.
2
           § 1400(b) because a substantial part of the events or omissions giving rise to
3

4          SPIS’ claims occurred in the Central District of California; furthermore,
5
           Defendant Exak has a regular and established place of business in the
6

7
           Central District of California, and because Exak conducts business in this

8          District.
9
                              III.   FACTUAL ALLEGATIONS
10

11      8. On February 16, 2016, the United States Patent and Trademark Office
12
           (“USPTO”) duly and legally issued U.S. Patent No. 9,261,365, (‘365 Patent)
13

14
           entitled ‘Device System and Method for Remotely Entering, Storing, and

15         Sharing Addresses for a Positional Information Device.” after a full and fair
16
           examination. The ‘365 Patent is attached as Exhibit 1 and incorporated as if
17

18         fully rewritten. (Exhibit 1)
19
        9. The Plaintiff is the owner by assignment of the ‘365 Patent with sole rights
20

21
           to enforce the ‘365 Patent and sue infringers. The Plaintiff possesses all

22         rights of recovery under the ‘365 Patent, including the exclusive right to
23
           recover for past infringement.
24

25      10.Defendant commercializes, methods, systems, servers, and products that
26
           perform the steps recited in Claim 1 of the ‘365 Patent. Specifically,
27

28
           Defendant makes, uses, sells, offers for sale, or imports a method, system,
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 3
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 4 of 46 Page ID #:4



1          server, and/or computer product that allows for a positional information
2
           device, in the form of (an Employers) GPS enabled device, to retrieve the
3

4          coordinates from multiple (Employees) secondary positional information
5
           devices. This infringement includes, but not limited, to the marketed and
6

7
           advertised “Geofence” and other positional information devices,

8          encompassing that which is covered by Claim 1 of the ‘365 Patent.
9
           (“Infringing Product”) (Exhibit 1).
10

11      11. Upon information and belief, Defendant, Exaktime, is and has been at all
12
           times the owner of the website https://www.exaktime.com. Accurate
13

14
           representations of the Defendants website as of 8/18/2021 are contained in

15         Exhibits 3 and 4. The attachments show the Defendants admission of the
16
           functionality of the Infringing Products use of the ‘365 Patent.
17

18      12.The ‘365 Patent is valid enforceable, and currently in full force and effect.
19
        13.To the extent required, Plaintiff has complied with all marking requirements
20

21
           under 35 U.S.C. § 287 with respect to the ‘365 Patent.

22      14.The invention claimed in the ‘365 Patent allows users to easily and safely
23
           enter an address into a GPS device by giving that address to a remote
24

25         communications link and to have that link automatically program the user’s
26
           GPS device for usage.
27

28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 4
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 5 of 46 Page ID #:5



1       15.Claim 1 of the ‘365 Patent recites a method for receiving location
2
           information from a positional information device.
3

4       16.A non-limiting and exemplary claim chart comparing the infringement to
5
           Claim 1 of the ‘365 Patent is attached hereto as Exhibit 2 and is incorporated
6

7
           herein as if fully rewritten.

8       17.Claim 1 of the ‘365 Patent states:
9
                            “1. A method for receiving location
10
                     information at a positional information device, the
11                   method comprising: sending a request from a
                     requesting positional information device to a
12
                     server for at least one address store in at least one
13                   sending positional information device, the request
14
                     including a first identifier of the requesting
                     positional information device; receiving at the
15                   requesting positional information device, from the
16                   server, a retrieved at least one address to the
                     requesting positional information device wherein
17
                     the server determines a second identifier for
18                   identifying the at least one sending positional
                     information device based on the received first
19
                     identifier and retrieves the requested at least one
20                   address stored in the identified at least one sending
21
                     positional information device.”

22       IV.    THE PATENT-IN-SUIT IS INVENTIVE AND NOT ABSTRACT
23
        18.The ‘365 Patent provides specific, inventive solutions to problems that
24

25         existed in the prior art. Specifically, the problem that devices recognized
26
           addresses differently depending on the preprogrammed information that has
27

28
           been stored. Ex. 1 at 1:57
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 5
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 6 of 46 Page ID #:6



1       19.The invention of the ‘365 Patent allows for the location information to be
2
           received from a centralized database or a second positional information
3

4          device. Using the centralized location ameliorates the problem of devices
5
           recognizing addresses differently. Ex. 1 at 2:64.
6

7
        20.The ‘365 Patent provides specific, inventive solutions to problems that

8          existed in the prior art. Specifically, the problem that users may have
9
           multiple vehicles that need to go to the same address and require route
10

11         guidance by the GPS device. In the past, the multiple vehicles using GPS
12
           could go to the wrong location. Ex. 1 at 2:8-15.
13

14
        21.The ‘365 Patent allows for users who have multiple simultaneous GPS needs

15         to link their positional information devices to one database with the location
16
           information or a second positional information device. This eliminates the
17

18         possibility that multiple vehicles typing the same information may get
19
           different locational data. Id.
20

21
        22.The claims of the ‘365 Patent recite an invention that is not merely the

22         routine or conventional use of computerized navigation technology. Instead,
23
           it enables a user to identify an exact location based upon centralized data on
24

25         a server or a second positional device. Ex. 1 at 2:52-67.
26

27

28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 6
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 7 of 46 Page ID #:7



1       23.Because of at least the above-described significant advantages that can be
2
           achieved through the use of the patented invention, SPIS believes that the
3

4          ‘365 Patent presents commercial value for companies like Exak.
5
        24.The technology claimed in the ‘365 Patent does not preempt all ways of
6

7
           using interactive navigation technology, nor preempt the use of any well-

8          known navigation technology, nor preempt any other well-known or prior art
9
           technology.
10

11      25.The claims of the ‘365 Patent is not directed to any ‘method of organizing
12
           human activity,” “fundamental economic practice long prevalent in our
13

14
           system of commerce,” nor are any of the claims “a building block of the

15         modern economy.”
16
        26.The claims of the ‘365 Patent are directed toward a solution rooted in
17

18         computer technology and uses technology, unique to computers and
19
           networks, to overcome a problem that arises and encompasses the realm of
20

21
           computerized navigation technologies.

22      27.The claims of the ‘365 Patent are not directed at a mere mathematical
23
           relationship or formula.
24

25      28.The claims of the ‘365 Patent cannot be performed by a human, in the
26
           human mind, or by pen and paper.
27

28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 7
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 8 of 46 Page ID #:8



1       29.Accordingly, each claim of the ‘365 Patent recites a combination of
2
           elements sufficient to ensure that the claim in practice amounts to
3

4          significantly more than an ineligible concept.
5
        30.In essence, the patent-in-suit relates to novel and non-obvious inventions in
6

7
           the field of navigational and guidance technologies and specifically to

8          correct problems of locational disparity.
9
                      V.   DEFENDANT’S INFRINGING PRODUCTS
10
                                 U.S. Patent No. 9,261,365
11
        31.SPIS hereby incorporates and realleges Paragraphs 1-31 as if fully set forth
12

13         herein.
14
        32.Defendant provides an application through which the employer can receive
15

16         real-time location information of employees using positional information
17
           devices.
18
        33.Defendant’s Infringing Product receives a request for at least one location
19

20         from an employee, determines the coordinates of the requested location, and
21
           transmits the determined coordinates back to the user. See, Exhibit 2.
22

23      34.Upon information and belief, Defendant Exak provides an application
24
           through their Infringing Product by which the customer can receive real-time
25
           information of the field employee at a positional information device (GPS-
26

27         enabled Cellular Device). See, Exhibit 2.
28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 8
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 9 of 46 Page ID #:9



1       35. Via the application, employers are given a first identifier in the form of an
2
           admin username and password. (“Employer Credentials”). See, Exhibit 2.
3

4       36.Employees are given a second identifier in the form of employee username
5
           and password. (“Employee Credentials”). See, Exhibit 2
6

7
        37. Employers through their positional information device, send a request to the

8          Exak server for receiving real-time location data. See, Exhibit 2.
9
        38.The Employer Credentials enable an admin to identify a real time location of
10

11         an employee. See, Exhibit 2.
12
        39.The real time location of an employee is retrieved from the location
13

14
           information stored on the employee’s positional information device (Cellular

15         Phone). See, Exhibit 2.
16
        40.The Defendants Infringing Products then allows for the location information
17

18         to be verified with pinpoint accuracy. See, Exhibit 2.
19
        41.The Employer Credentials allow for the employee’s location to be verified
20

21
           with “pinpoint” accuracy and allow for navigational information based the

22         Employer and Employee Credentials. See, Exhibit 2.
23
        42.Upon information and belief, this accuracy “runs in the background of an
24

25         employee’s smartphone, using minimal data to verify worker location and
26
           rate of travel…” (emphasis added.) (See Exhibit 3).
27

28
     COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 9
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 10 of 46 Page ID #:10



1        43.Defendant Exak markets the product to be used on the “most popular cell
2
            phone carriers in North America, including AT&T, Verizon, T-Mobile and
3

4           Rogers Wireless.” (See Exhibit 3).
5
                             INFRINGMENT OF THE ‘365 PATENT
6

7
         44.SPIS realleges and incorporates by reference all of the allegations set forth

8           in the preceding paragraphs.
9
         45.Defendant has sold, marketed, and advertised the infringing product to at
10

11          least 7,500 companies by their own admission. (See, Exhibit 3)
12
         46.Defendant has been directly and/or indirectly infringing one or more claims
13

14
            of the ‘365 Patent pursuant to 35 U.S.C. § 271(a), literally or under the

15          Doctrine of Equivalents by making, using, offering to sell, and/or selling in
16
            the United States and/or importing into the United States, products, devices,
17

18          or systems that are covered by the ‘365 Patent.
19
         47.Defendant has directly infringed and continues to directly infringe at least
20

21
            one claim of the ‘365 Patent by making, using, offering to sell, and/or selling

22          in the United States infringing products despite that such actions constitute
23
            infringement and despite being at least on constructive notice that its actions
24

25          constitute infringement.
26
         48.As a direct and proximate result of Defendant’s direct infringement of the
27

28
            ‘365 Patent, Plaintiff has been and continues to be damaged.
      COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 10
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 11 of 46 Page ID #:11



1        49.By engaging in the conduct described herein, Defendant has injured Plaintiff
2
            and is thus liable for infringement of the ‘365 Patent, pursuant to 35 U.S.C.
3

4           § 271.
5
         50.Defendant Exak has committed these acts of infringement without license or
6

7
            authorization.

8        51.As a result of Defendant’s infringement of the ‘365 Patent, Plaintiff has
9
            suffered monetary damages and is entitled to a monetary judgment in an
10

11          amount adequate to compensate for Defendant’s past infringement, together
12
            with interests and costs.
13

14
         52.Plaintiff reserves the right to modify its infringement theories as discovery

15          progresses in this case; it shall not be estopped for infringement contention
16
            or claim construction purposes by the claim charts that it provides with this
17

18          Complaint. Further, the claim chart depicted in Exhibit 2 is intended to
19
            satisfy the notice requirements of Rule 8(a)(2) of the Federal Rule of Civil
20

21
            Procedure and does not represent Plaintiff’s preliminary or final

22          infringement contentions or preliminary or final claim construction positions.
23
                              VI.    DEMAND FOR JURY TRIAL
24

25       53.Pursuant to Rule 38 of the Federal Rules of Civil Procedure, SPIS
26
            respectfully requests a trial by jury of all issues properly triable by jury.
27

28
                                 VII. PRAYER FOR RELIEF.
      COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 11
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 12 of 46 Page ID #:12



1        SPIS respectfully requests that this Court enter judgment in its favor and grant
2
         the following relief:
3

4        (i)     Judgment and Order that Exak has directly infringed one or more claims
5
                 of the patent in suit;
6

7
         (ii)    Judgment and Order that Exak has induced infringement of one or more

8                claims of the ‘365 Patent.
9
         (iii)   Judgment and Order that Exak must pay SPIS past and future damages
10

11               under 35 U.S.C. § 284, including supplemental damages arising from any
12
                 continuing, post-verdict infringement for the time between trial and entry
13

14
                 of the final judgment, together with an accounting, as needed, as

15               provided under 35 U.S.C. § 284;
16
         (iv)    Judgment and Order that Exak must pay SPIS reasonable ongoing
17

18               royalties on a go-forward basis after Final Judgment;
19
         (v)     Judgment and Order that Exak must pay SPIS pre-judgment and post-
20

21
                 judgment interest on the damages award;

22       (vi)    Judgment and order that Exak must pay SPIS’s costs;
23
         (vii) Judgment and Order that the Court find this case exceptional under the
24

25               provisions of 35 U.S.C. § 285; and
26
         (viii) Such other and further relief as the Court may deem just and proper.
27

28
      COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 12
     Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 13 of 46 Page ID #:13



1     Dated: August 19, 2021                      Respectfully submitted,
2
                                                  /s/ Brian Christopher Holloway
3
                                                  BRIAN HOLLOWAY (State Bar
4                                                 No. 335408)
5
                                                  HOLLOWAY INTELLECTUAL
                                                  PROPERTY, PLLC
6                                                 535 16th Ave E
7                                                 Seattle, WA 98112
                                                  323-616-3666
8
                                                  brian@hollowayip.org
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      COMPLAINT FOR PATENT INFRINGEMENT DEMAND FOR A JURY TRIAL - 13
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 14 of 46 Page ID #:14




                           Exhibit 1
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 15 of 46 Page ID #:15

                                                                                                      USOO926 1365B2


  (12) United States Patent                                                  (10) Patent No.:                      US 9.261,365 B2
         Rothschild                                                          (45) Date of Patent:                           Feb. 16, 2016
  (54) DEVICE, SYSTEMAND METHOD FOR                                 (58) Field of Classification Search
         REMOTELY ENTERING, STORING AND                                            CPC .......... G08G 1/096861; G08G 1/0969; G08G
         SHARING ADDRESSES FOR A POSITIONAL                                                    1/096827; G08G 1/096872; G01C 21/3629
         INFORMATION DEVICE                                                        See application file for complete search history.
  (71) Applicant: Leigh M Rothschild, Sunny Isles Beach,            (56)                               References Cited
                  FL (US)                                                                      U.S. PATENT DOCUMENTS
  (72) Inventor: Leigh M Rothschild, Sunny Isles Beach,                           6,073,075 A *        6/2000 Kondou ................ GOSS/OO27
                  FL (US)                                                                                                                340.988
                                                                                  6,202,023 B1*        3/2001 Hancock ................ GO1C 21, 20
  (73) Assignee: ROTHSCHILD LOCATION                                                                                                     TO1,516
                  TECHNOLOGIES, LLC, Bay Harbour                                  6,584,402 B2 *       6/2003 Fukushima ........ GO1C 21,3407
                                                                                                                                      342,357.31
                  Islands, FL (US)                                                7,084,872 B2 * 8/2006 Etgen .................... GO6T 11,206
                                                                                                                                         345,440
  (*) Notice: Subject to any disclaimer, the term of this                         7,523,417 B2 * 4/2009 Hintermeister ....... G06F 9,4443
                  patent is extended or adjusted under 35                                                                                T15,804
                  U.S.C. 154(b) by 0 days.                               2002/0154173 A1* 10/2002 Etgen .................. GO6F 3,04855
                                                                                                                                T15,833
                                                                         2002/0156578 A1* 10, 2002 Kondou ................ GOSS/OO27
  (21) Appl. No.: 14/022, 193                                                                                                   TO1,516
                                                                         2003/0018428 A1    1/2003 Knockeart ......... GO1C 21/3415
  (22) Filed:         Sep. 9, 2013                                                                                           342,357.31
                                                                         2003/0018887 A1    1/2003 Fishman ................. HO4L 29,06
  (65)                   Prior Publication Data                                                                                 T13/151
         US 2014/0012496 A1          Jan. 9, 2014                                           (Continued)
                                                                    Primary Examiner — Ian Jen
                   Related U.S. Application Data                    (74) Attorney, Agent, or Firm — Greer, Burns & Crain, Ltd.
  (63) Continuation of application No. 12/882,754, filed on         (57)                                ABSTRACT
       Sep. 15, 2010, now Pat. No. 8,606,503, which is a
       continuation of application No. 1 1/413,890, filed on        Devices, systems and methods for remotely entering, storing
         Apr. 28, 2006, now Pat. No. 7,917.285.                     and sharing location addresses for a positional information
                                                                    device, e.g., a global positioning system (GPS) device, are
  (51)   Int. C.                                                    provided. The present disclosure allows a user to easily and
         GOIC 2L/00              (2006.01)                          safely enter an address into a GPS device by giving that
         G08G I/005              (2006.01)                          address to a remote communications link and to have that link
         G08G I/0968             (2006.01)                          automatically program the user's GPS device for usage. The
  (52)   U.S. C.                                                    device, system and method of the present disclosure further
         CPC ................ G0IC 21/00 (2013.01); G08G I/005      allows the user to use this stored address(es) on multiple GPS
                    (2013.01); G08G 1/09685 (2013.01); G08G         devices without having to manually enter the address(es).
                          I/096816 (2013.01); G08G I/096866
                          (2013.01); G08G 1/096883 (2013.01)                                   15 Claims, 5 Drawing Sheets


                                                                              2


                                                                                                100
                                                                  -- 16
                                                                 ---.
                                             102 --




                                                                                         106

                                                                                     Y. 14



                                                                        ---.. 8
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 16 of 46 Page ID #:16


                                                        US 9.261,365 B2
                                                                   Page 2

  (56)                References Cited                                      2004/0228489 A1* 11/2004 Ishibashi ................ GO1C 21, 26
                                                                                                                                           380,258
               U.S. PATENT DOCUMENTS                                        2006/0041374, A1        2/2006 Inoue ...................... HO4L 67/36
                                                                                                                                           TO1,500
   2003/0050751 A1*   3, 2003 Fukushima ........ GO1C 21,3407               2006/0094353 A1*        5, 2006 Nielsen ........... H04M is
                                                          TO1,420                              ck
   2003/0055530 A1*   3, 2003 Dodson ............... GO6F 17,3089           2006/0240860 A1* 10, 2006 Benco ..................... H.M.'s
                                                             TOO,231        2007/0143015 A1   6/2007 Kim ........................ GO1S 19/06
   2003/O126264 A1*   7/2003   Chithambaram ......... GO1S 5/02                                                                        TO1/469
                                                             709,227        2009 OO73254 A1* 3, 2009 Li .......................... GO3B 17 OO
   2004/0064245 A1    4/2004   Knockeart ......... GO1C 21,3415                                                                         348/36
                                                             701 414        2011/0273570 A1* 11, 2011 Sakaki ............... HO4N 5/232O3
   2004/0066330 A1*   4/2004   Knockeart ......... GO1C 21,3415                                                                     348,207.11
                                  OCKC                    342.357.31        2011/0273579 A1* 11/2011 Sakaki ................... HO4N 7, 183
   2004/0068567 A1*   4/2004   Moran .................... HO4L 67/14                                                                 348.222.1
                                                           709,227      * cited by examiner
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 17 of 46 Page ID #:17


  U.S. Patent               Feb. 16, 2016       Sheet 1 of 5                  US 9.261,365 B2




                                  ANT

                                                               1 2
                                                    ?-------
                                                                               1OO
                            -->                      --                        w
                        M                     ...         - 116                 v
              102 - -                       S- --- -                      1.
                                                                                   ?




                                                                     “s 104
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 18 of 46 Page ID #:18


  U.S. Patent             Feb. 16, 2016                               Sheet 2 of 5                                         US 9.261,365 B2




                                                                                                                        COMPUTER
           ENCRYPTON
                                                                                                                       PROCESSENG
             MODULE
                                                                                                                         WODULE


                                                                                                                              s-- 120



              NPU                                                                                                       SORAGE
             MODULE                                                                                                      MODULE



                  ---. 126                                                                                                    --- 1:0

                               A.                                                                             y
                                   A.                     M
                              A ---------------------------- w         s        / ---------------------------- ww
             DISPLAY                                            v    O A                                          w   COMMUNECAON
             MODULE                                                  R &                                                  ODULE
                              v ........................... A              \                                      A
                                   \                                            w                             A


                   --- Ca                                                                                                     ---. 12


                              A.
                                   A                       \v               A
                                                                                A                            &w
           OCAONAL                                              v          A.                                     w    DAE & VE
        NFORWAON MODULE
                              \\                           A
                                                                A      K\                                    ;y/        WODUE
                                                                                v


                       - 22                                                                                                   - 124


                                    a                      w                                                  v
         USER WERFICAON       AA ---------------------------N              /- \                                       SPEED CONRO
              MODULE                                                       y                                             MODULE
                              y --------------------------- A               v.
                                   w    s                  y           R v                                   y




                  - 130                                   -                -                                                  ---. 132
                                                               Yas    -




                                                         FG 2
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 19 of 46 Page ID #:19


  U.S. Patent                                  Feb. 16, 2016                          Sheet 3 of 5                                         US 9.261,365 B2




                                                   \
                                                                             CReese - ZipC                         As
                                                                              Pore     code                       location               Associated information
                                                                                                                                         E.g., - name of person
                                                                                                         w                                     - cross sireet
                                                                                                             s.                               - zip code
                                                                                                                  -                           - phone rumber
                                                                                                                                              - alternative spelling



                                Satelite   x




                                                            Communications Network                                       ---




                            i                                            i              i
                                                                         i
                        :                                            !
                                                                    A.
                    :                                           A
                    i                                       A
                   ;                                    /                                   y
               :                                                                                '.
               ;                                                                                 \                           ---
           i                                                                                         \                              38
                                                                                                         \                         ---




                            y                                                                                         Mobile enia
                                Y-100                                                                                 Corrinnications
                                                                                                                           Rowe




                                                                                     FG. 3
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 20 of 46 Page ID #:20


  U.S. Patent         Feb. 16, 2016       Sheet 4 of 5                US 9.261,365 B2




                   NAEACWATE COMMUNCAONNK                         -    402




                  RANSMT/RECEIVE RECRUEST FOR LOCATION
                              NFORWAON                   w    -




                DEERVNE COORONAES FOR LOCAON OF THE               -s 4.08
                          REQUESTED OCAON                N- -




                 RECEWEFTRANS    COORONATES O DEVCE      w      -s 408
                                                         ^-


                                  V

              DSPAY ROUTE GUDANCE O RECRUESTED LOCATON        -is 410
                                                         Y




                                FG. 4
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 21 of 46 Page ID #:21


  U.S. Patent         Feb. 16, 2016       Sheet 5 of 5               US 9.261,365 B2




                    NATEFACWAECOMMUNICAON. Nk                 - 502




                  TRANSM/RECEIVE REGUES FOR LOCAON                ------
                   NFORMAONSORED NANOTHER DEWCE               - 504




                        RANSMTRECEIVE DENFER                   -s 506




               RETREVE REESE INFORMATON FROM BAABASE              ---, 508
                            OR OHEREVICE                  N   -




                RECEIVEFRANSMT REQUESED INFORMATION O             ---
                                 DEWECE                       - --> 50




                OSPAY ROUE GUEDANCE TO REGUESE LOCATION        -s 512




                                F.G. 5
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 22 of 46 Page ID #:22


                                                      US 9,261,365 B2
                                1.                                                                    2
         DEVICE, SYSTEMAND METHOD FOR                                  while others will only accept North Miami Beach, while still
         REMOTELY ENTERING, STORING AND                                others will require an entry of North Miami, while still others
      SHARING ADDRESSES FOR A POSITIONAL                               will only recognize Sunny Isles as the correct entry. In some
             INFORMATION DEVICE                                        cases, a user can spend 15 to 20 minutes attempting to pro
                                                                       gram in a single address. In some cases, the user is neverable
                           PRIORITY                                    to have the unit accept an address, therefore not allowing the
                                                                       use of the GPS device.
     The present application is a continuation application of           A second problem that currently exists is that many users
  and claims priority to U.S. patent application Ser. No. 12/882, have multiple vehicles that go to the same address and require
  754 filed on Sep. 15, 2010, which is in turn a continuation 10 route guidance by the GPS device. The current systems would
  application of, and claims priority to U.S. patent application require the user to enter the requested address (e.g., destina
  Ser. No. 1 1/413,890, filed Apr. 28, 2006, the contents of both
  U.S. patent application Ser. No. 12/882,754 and U.S. patent tion        information) or multiple addresses into all vehicle units
                                                                     individually. This is an unnecessary waste of time, and as
  application Ser. No. 1 1/413,890 are hereby incorporated by discussed above,         can be a very difficult assignment.
  reference in their entireties.                                  15
                                                                        A third problem that currently exists, is that many times a
                       BACKGROUND                                      user needs to route to an address or destination while the user
                                                                       is driving. It may be an address that the user does not even
     1. Field                                                          have a correct city designation for. The current GPS devices
     The present disclosure relates generally to navigational or       make it extremely difficult or impossible for a user to program
  positional information systems, and more particularly, to            the device for an address while driving. In fact, for reasons of
  devices, systems and methods for remotely entering, storing          safety, some GPS devices discourage or lock out users from
  and sharing addresses for a positional information device,           address entry while the vehicle is being operated. However, a
  e.g., a global positioning system (GPS) device.                      definite need exists for a user to quickly program the GPS
     2. Description of the Related Art                             25 device to a desired address.
     GPS (Global Positioning System) devices are everywhere.            A current and major trend in automobile technology is
  These devices provide a user with such information as lati automobile telematics. Many of today's cars feature systems
  tude and longitude, accurate time, heading, Velocity, etc. GPS that allow the user to communicate with a central processing
  devices are particularly useful in automobiles and other center in case of emergency. Routine features allow the user
  vehicles. Many individuals have multiple GPS devices if they 30 to receive help and directions from a live agent or operator,
  own, for instance, two cars that both have the device. Con          and further allow the processing service center to unlock car
  ventionally, most devices will allow a user to store informa doors, track stolen vehicles, warn a user when an airbag has
  tion Such as address points in the internal memory of the deployed and provide information on various Subjects, e.g.,
  device. Some devices will allow you to store this information points of interests along travel. Examples of telematics sys
  on removable memory, e.g., memory cards, optical media, 35 tems include Onstar of Troy, Mich., Mercedes Assist of
  etc. In the latter case, this can be particularly helpful because Montvale, N.J. and Lexus Link of Troy, Mich.
  a list of addresses, for instance, will be useful to be moved         Despite the various services that the telematics companies
  from GPS device (e.g., a first vehicle) to GPS device (e.g., a provide, one service that they do not provide is the automatic
  second vehicle).                                                    programming of a vehicle's GPS device. Yet, a clear need
     Conventionally, a GPS device will inform a user how to get 40 exists for a system and method to allow a user to be able to
  from one point to another. Additionally, it provides informa easily, quickly and safely program their GPS device(s) with
  tion on points of interest, e.g., hotels, restaurants, historic address/destination information.
  landmarks, etc. Some GPS units will also provide informa
  tion including current speed of travel as well as average speed                             SUMMARY
  of travel.                                                      45
    GPS devices must be programmed by the user to tell the             The present disclosure provides a device, System and
  device the address that the user wishes to travel to. The GPS     method of remotely entering, storing, and sharing addresses
  device then provides route guidance information to the user. If for Global Positioning Satellite (GPS) devices. Additionally,
  the user has already programmed the address in (in many a system and method of programming GPS units from a link
  devices the address is referred to as a waypoint), many GPS 50 on the Global Computer Network (e.g., the Internet) is also
  devices will store this address information in internal or        provided.
  removable memory so that the device will be able to retrieve         According to one aspect of the present disclosure, a method
  this information for future usage.                                for entering location information into a positional informa
     There are several major problems with the current systems tion device is provided. The method includes receiving a
  of programming addresses (e.g., destination information) 55 request for at least one location from a user, determining
  into a GPS device. The first problem is that different devices coordinates of the least one requested location; and transmit
  recognize addresses differently depending on the prepro ting the determined coordinates to the device. The receiving
  grammed information that has been stored. Additionally, dif step includes receiving an identifier of the device, wherein the
  ferent devices have different user interfaces and program identifier is a mobile phone number or an IP address.
  differently. If a user knows how to program one device, he 60 Invarious different aspects, the request is received by voice
  may not necessarily know how to program another unit. By communication and/or data transfer. Furthermore, the request
  example, if a user tries to program the address 19333 Collins may be received from the device and/or a remote computer.
  Avenue, Sunny Isles, Fla., many devices will not accept this         In another aspect, the determining step includes retrieving
  address. Instead, the user will have to decide which city the the coordinates from a database residing on a server. In a
  street address lies in. In many cases, this can be a laborious 65 further aspect, the determining step includes retrieving the
  and timely procedure. In the previous example, some GPS coordinates from at least one second positional information
  devices will accept Sunny Isles Beach as the proper address, device.
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 23 of 46 Page ID #:23


                                                       US 9,261,365 B2
                                 3                                                                   4
     In yet another aspect of the present disclosure, the deter     or constructions are not described in detail to avoid obscuring
  mining coordinates step includes resolving an address of the      the present disclosure in unnecessary detail.
  at least one location into latitude and longitude coordinates.       Devices, systems and methods for remotely entering, stor
  The address may be determined by information associated to        ing and sharing location addresses for a positional informa
  the address, wherein the associated information is a name of 5 tion device, e.g., a global positioning system (GPS) device,
  a person residing at the address, a cross street of the address, are provided. The present disclosure allows a user to easily
  a Zip code of the address, a phone number of the address oran and      safely enter an address into a GPS device by giving that
                                                                    address to a remote communications link and to have that link
  alternative spelling of the address.
     In a further aspect of the present disclosure, a positional 10 automatically program the user's GPS device for usage. The
  information device includes a locational information module       device, system and method of the present disclosure further
  for determining location information of the device; a commu allows        the user to use this stored address(es) on multiple GPS
  nication module for transmitting a request for at least one devices        without having to manually enter the address(es).
                                                                       Referring to FIG. 1, a global positioning system (GPS)
  location remote of the device and for receiving coordinates of
  the at least one location; a processing module configured to 15 device    100 in accordance with an embodiment of the present
                                                                    disclosure is illustrated. Although the device shown and
  receive the coordinates from the communication module and           described in relation to FIG. 1 is a hand-held device, it is to be
  determine route guidance based on the location of the device        understood the principles of the present disclosure may be
  and the received coordinates; and a display module for dis          applied to any type of navigation or positional information
  playing the route guidance. The communication module is             device including but not limited to a vehicle-mounted device,
  configured to transmit the request by Voice communications          a GPS receiver coupled to a desktop computer or laptop, etc.
  and/or wireless data transfer.                                      Furthermore, the present disclosure may apply to various
     In another aspect of the present disclosure, a system for types of vehicles such as an automobile, a boat, a bicycle, etc.
  entering location information into a positional information It is also to be appreciated that the components described
  device is provided. The system includes a server configured to below may not necessarily be disposed in a single housing but
  receive a request for at least one location, determine coordi 25 incorporated into another device or structure, for example,
  nates of the least one requested location and to transmit the components of the device may be integrated into a dashboard
  determined coordinates to the device; the positional informa of an automobile.
  tion device including a locational information module for              The GPS device 100 includes various electrical compo
  determining location information of the device; a communi nents, which will be described in detail below, disposed in a
  cation module for receiving coordinates of the at least one 30 generally rectangular housing 102. A display module 104 is
  location from the server; a processing module configured to provided for displaying a location of a user, a map, coordi
  receive the coordinates from the communication module and           nates, waypoints, frequently accessed addresses, personal
  determine route guidance based on the location of the device information, etc. As will be described in more detail below,
  and the received coordinates; and a display module for dis the display module 104 may include a touchscreen for facili
  playing the route guidance; and a communications network 35 tating user input of information. Input module 106 includes a
  for coupling the positional information device to the server.       plurality of buttons 108 for inputting data and navigating
     In one aspect, the communications network is a telematics through a plurality of menus and/or maps. The GPS device
  network.                                                            100 further includes a storage module 110 for storing a plu
     In a further aspect, the server is operated by a live operator rality of maps, frequently used addresses, traveled routes, etc
  and the request for the at least one location is received by 40 and a communication module 112 for transmitting stored data
  Voice communications.                                               to another device, e.g., a personal computer, a personal digital
                                                                      assistant (PDA), a server residing on the Internet, etc. and for
          BRIEF DESCRIPTION OF THE DRAWINGS                           transmitting verbal communications to other devices. The
                                                                      device 100 will include a microphone 114 for acquiring audio
     The above and other aspects, features, and advantages of 45 from the user of the device to input data and to communicate
  the present disclosure will become more apparent in light of to others. A speaker 116 for audibly producing communica
  the following detailed description when taken in conjunction tions from others, directions, warnings and/or alarms to a user
  with the accompanying drawings in which:                            is also provided.
     FIG. 1 is front view of a positional information device             Referring to FIG. 2, the various components of the device
  according to an embodiment of the present disclosure;            50 100 will now be described. The device will contain a com
     FIG. 2 is a block diagram of various modules included in puter processing module 120, e.g., a microprocessor. The
  the device illustrated in FIG. 1;                                   computer processing module 120 will use computer Software
     FIG. 3 is a diagram of an exemplary system for entering, instructions that have been programmed into the module and
  storing and sharing location information in GPS devices in conventional computer processing power to interact and orga
  accordance with an embodiment of the present disclosure; 55 nize the traffic flow between the various other modules. It is to
     FIG. 4 is a flow diagram illustrating a method for entering, be understood that the present disclosure may be imple
  storing and sharing location information in GPS devices             mented in various forms of hardware, software, firmware,
  according to an embodiment of the present disclosure; and           special purpose processors, or a combination thereof. A sys
     FIG. 5 is a flow diagram illustrating a method for entering, tem bus 121 couples the various components shown in FIG.2
  storing and sharing location information in GPS devices 60 and may be any of several types of bus structures including a
  according to another embodiment of the present disclosure.          memory bus or memory controller, a peripheral bus, and a
                                                                      local bus using any of a variety of bus architectures. The
                    DETAILED DESCRIPTION                              device also includes an operating system and micro instruc
                                                                      tion code preferably residing in read only memory (ROM).
     Preferred embodiments of the present disclosure will be 65 The various processes and functions described herein may
  described hereinbelow with reference to the accompanying either be part of the micro instruction code or part of an
  drawings. In the following description, well-known functions application program (or a combination thereof) which is
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 24 of 46 Page ID #:24


                                                       US 9,261,365 B2
                                5                                                                     6
  executed via the operating system. Exemplary operating sys          dard and currently available on many electronic devices
  tems include but are limited to SymbianOS, Windows                  including portable digital assistants (PDAs) and cellular tele
  Mobile/Windows CE, Palm OS, Linux, Blackberry OS, etc.              phones. Microphone 114 will be further coupled to the input
  which have been developed for mobile computing applica              module 126 for capturing any audio information spoken by
  tions and can handle both data computing and communica              the user and the input module will further include an analog
  tion applications.                                                  to-digital (A/D) converter for converting the spoken audio
     It is to be further understood that because some of the          information into a digital format. Furthermore, the input
  constituent device components and method steps depicted in module may include a Voice recognition processor that trans
  the accompanying figures may be implemented in Software, lates the digital human Voice into alpha numeric characters
  the actual connections between the device components (or the 10 for user input. The user will utilize the user input module 126
  process steps) may differ depending upon the manner in to enter various data, for example, a plurality of destination
  which the present disclosure is programmed. Given the teach addresses, waypoints, etc.
  ings of the present disclosure provided herein, one of ordinary        The storage module 110 includes internal storage memory,
  skill in the related art will be able to contemplate these and e.g., random access memory (RAM), or removable memory
  similar implementations or configurations of the present dis 15 Such as magnetic storage memory; optical storage memory,
  closure.                                                            e.g., the various types of CD and DVD media; solid-state
     A locational information module 122 is provided for deter storage memory, e.g., a CompactFlash card, a Memory Stick,
  mining a location of the device 100 and/or user. The loca SmartMedia card, MultiMediaCard (MMC), SD (Secure
  tional information module 122 may include a receiver and Digital) memory; or any other memory storage that exists
  antenna ANT employing conventional locational information currently or will exist in the future. The storage module 110
  processing technology Such as Global Positioning Satellite will store various types of information Such as the inputted
  (GPS) Technology, Loran Technology, or any other available destination addresses, routes traveled by the user, the user's
  locational technology, to indicate the exact location or coor home address, etc. The storage module 110 will further store
  dinates, e.g., latitude, longitude and altitude, of the device a plurality of geographical maps. In operation, the processing
  100. Exemplary GPS receivers and antennas are described in 25 module 120 will process information received from overhead
  U.S. Pat. Nos. 5,654,718 and 6,775,612, the contents of both        satellites and calculate the geographic location that the device
  of which are herein incorporated by reference. It is to be 100 is currently at. The processing module 120 then plots that
  appreciated that the latitude, longitude and altitude may be location on a graphic representation of a map stored in the
  used to interact with maps stored in memory or in the storage storage module 110, e.g., internal or external memory. This
  module 110 of device 100 to determine the city, state or 30 map is then displayed on the display module 104 of the device
  address of the location the device 100. Furthermore, the loca       100. The map optionally will include points of interest also
  tional information module 122 may calculate routes traveled, plotted on the map. By example, hospitals, police offices, gas
  velocity or speed of a vehicle including the device 100, etc., or stations, ATMs, hotels, restaurants, etc. can also be displayed.
  alternatively, may send the position coordinates to the pro These point of interest locations are placed on the map in their
  cessing module 120 at a predetermined sampling period 35 proper locations by the publisher of the map when the map is
  where the processing module will perform the calculations.          published, or alternatively, these locations are stored in an
     Furthermore, the device 100 will include a date and time         internal address database and then dynamically placed on the
  module 124. The date and time module 124 will use standard          graphical representation map by the processing module 120
  computer chip processing technology widely in use, or alter as the map displays on the display module 104.
  natively, input from locational information module 122, e.g., 40 Maps may be provided for different areas via multiple
  a GPS receiver, to supply the date and time. The date and time removable memory cards, e.g., a memory card for each state
  may be associated or correlated with routes traveled, a par in the United States. Alternatively, different maps may be
  ticular location and speeds and may be employed to deter received wirelessly via the communication module 112 and
  mine velocity or speed of the user of the device 100 whether loaded into memory or the storage module 110 as needed. The
  in a vehicle, on a bicycle or while walking.                     45 processing module 120 will determine based on the informa
     The device 100 will also contain a display module 104 for tion received from the locational information module 122 that
  displaying a location of a user, a map, coordinates, waypoints, a map corresponding to the devices current position is not
  frequently accessed addresses, etc. This display may be in any available and the processing module 120 will request an
  current form in the art, including Liquid Crystal Displays appropriate map from a service provider available on a com
  (LCD), Light emitting diode displays (LED), Cathode Ray 50 munication network accessed via the communication module
  Tube Displays (CRT) or any other type of display currently 112.
  existing or existing in the future. The display module 104 will        The communication module 112 will enable the device 100
  include an audio output device 116, e.g., a speaker, head to transmit or transfer information, e.g., current location of a
  phone jack, etc., allowing the user to also hear audio output vehicle, speed of a vehicle, time and date of the recorded
  from the device 100, e.g., for audibly producing directions to 55 location and/or speed, etc., to other computing devices and to
  a desired location or predetermined address. The speaker 116 receive information from other computing devices, e.g.,
  will also be used in conjunction with microphone 114 and maps, Software updates, etc. Furthermore, the communica
  communication module 112 to enable Voice communications             tion module 112 will enable voice communications between
  as will be described below.                                        the device 100 and other devices, remote operators, etc. The
     The device 100 of the present disclosure will contain a user 60 communication module 112 will perform its functionality by
  input module 126 to either receive user instructions via text hardwired and/or wireless connectivity. The hardwire con
  input by the way ofbuttons 108, a standard keyboard interface nection may include but is not limited to hard wire cabling,
  coupled to the device, or a character recognition capture e.g., parallel or serial cables, USB cable, Firewire (1394
  device which translates user text input into alphanumeric connectivity) cables, and the appropriate port. The wireless
  characters. Preferably, the character recognition device is a 65 connection will operate under any of the various known wire
  touchscreen which overlays the display module 104 and text less protocols including but not limited to BluetoothTM inter
  is entered via a pen-like stylus. Such input devices are stan connectivity, infrared connectivity, radio transmission con
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 25 of 46 Page ID #:25


                                                       US 9,261,365 B2
                                 7                                                                  8
  nectivity including computer digital signal broadcasting and capture device, either incorporated into the device 100 or
  reception commonly referred to as Wi-Fi or 802.11.X (where coupled externally via a cable. The identity capture device
  X denotes the type of transmission), or any other type of may be a biometric device. Such as a retinal scanning device,
  communication protocols or systems currently existing or to fingerprint reader, facial recognition reader or another type of
  be developed for wirelessly transmitting data. The commu 5 user identity verification input device which will collect
  nication module will compress and encode the encrypted information on the user to be compared to information that
  information for transmission using any known wireless com has previously been stored in the device's memory. One such
  munication technology. It is to be appreciated that the com exemplary fingerprint reader is the BioTouchTM fingerprint
  munication module may include a single integrated circuit reader commercially available from Identix Incorporated of
  chip to perform data transfer and Voice communications or a 10 Minnetonka, Minn. It is to be noted that identity detection
  single module including a separate data transfer chip, e.g., a devices such as biometric devices are common and are cur
  WiFi transceiver, and a separate voice communication chip, rently widely in use. It is to be further noted, that identity
  e.g., a CDMA chip. Preferably, the communication module verification devices that are not yet in use such as DNA
  will operate on the wireless GPRS (General Packet Radio detection, etc., would also be compatible with device 100. In
  Service) data protocol or a 3G protocol such as W-CDMA, 15 one embodiment, the identity of the user may be required in
  CDMA2000 and TD-SCDMA. Both the GPRS and 3G pro addition to the entering of a codestring to decrypt information
  tocols have the ability to carry both voice and data over the on the storage module 110. In a further embodiment, the
  same service.                                                      identity of a particular user may be linked to their code string
     The device 100 will also include an encryption module and, upon verification of the identity of a user, the linked code
  128. The encryption module 128 will use conventional code string will be submitted to the encryption module 128. In
  encryption algorithms currently in use or that will be in use in another embodiment, the identity of the user may be required
  the future such as symmetric-key algorithms, e.g., DES, to unlock the interlock 118.
  Triple-DES, Blowfish, RC2, RC4, RC5, etc. and asymmetric              A system and method for remotely entering, storing and
  key algorithms, e.g., Diffie-Hellman, RSA, EIGamal, etc. to sharing location address information will be described in
  encrypt the data information that comes into the user input 25 relation to FIGS.3 and 4. Referring to FIG.3, the GPS device
  module 126 and/or that is stored in the storage module 110. In 100 will communicate to a central server 304 via a telematics
  one embodiment of the present disclosure, the encryption communications network 302, e.g., a network that enables
  module 128 will always encrypt the data information, but in data and voice communications. The device 100 will couple
  other embodiments, the user will select whether to encrypt the to the communications network 302 via the communication
  data or to leave the data unencrypted.                          30 module 112 which enable data transmission and Voice com
     Upon initialization of device 100, processing module 120 munications. The communication module 112 may connect
  prompts the user via display module 104 or speaker 116 to to the communications network 302 by any known commu
  select a code string that the user wishes to use. The user nication means or combination thereof includes WiFi connec
  selects an appropriate code string and enters the code string tivity via a WiFi tower (e.g., of various types including
  into the device 100 with input module 126 via buttons 108, 35 802.11a/b/g) or a WiMAX tower 312 in accordance with
  microphone 114 or touchscreen. The input module 126 sends IEEE 802.16 specifications; infrared connectivity; satellite
  the code string to the processing module which in turn sends communications including orbital satellite 314 and satellite
  this string to encryption module 128. The encryption module dish.316; radio frequency; a mobile terminal communications
  128 then uses this code string to encrypt (using standard technology, e.g., via a mobile terminal communications
  encryption algorithms identified above) all addresses and 40 tower 318 employing FDMA, TDMA and CDMA technol
  route points (or just the addresses and route points that the ogy, PCS, and 3G technology, etc.
  user designates) and store this information in the storage            The server 304 may be connected to the communications
  module 110. When the GPS device 100 is inactive, all infor         network 302, e.g., the Internet, by any known means, for
  mation in the storage module 110 is encrypted. When the GPS example, a hardwired or wireless connection 308, such as
  device 100 is active, the information in the storage module 45 dial-up, hardwired, cable, DSL, satellite, cellular, PCS, wire
  110 is sent to the encryption module 128 which after receiv less transmission (e.g., 802.11a/b/g, 802.16, etc.), etc. It is to
  ing the user's code String decrypts the information, and then be appreciated that the network 302 may be a local area
  sends the information to the processing module where it can network (LAN), wide area network (WAN), global area net
  then be presented to the user on the display module 104.           work (GAN) in accordance with IEEE 802.20, the Internet or
     In another embodiment of the present disclosure, the GPS 50 any known network that couples a plurality of computing
  device 100 will include a hardware interlock 118 to prevent devices to enable various modes of communication via net
  the removal of the storage module 110. The interlock 118 may work messages. Furthermore, the server 304 will communi
  be a detent configured to engaged a memory card being cate using the various known protocols such as Transmission
  employed, a mechanical door which prevents access to the Control Protocol/Internet Protocol (TCP/IP), File Transfer
  storage module 110, or a mechanism which physical rejects 55 Protocol (FTP), Hypertext Transfer Protocol (HTTP), etc.
  the storage module 110. In this embodiment, the user would and secure protocols such as Internet Protocol Security Pro
  submit the code string to the encryption module 128 via the tocol (IPSec), Point-to-Point Tunneling Protocol (PPTP),
  input module 126 which would then accept the code string Secure Sockets Layer (SSL) Protocol, etc.
  and instruct the processing module 120 to unlock the hard             It is to be appreciated that the device 100 and server 304
  ware interlock 118 and allow user removal of the storage 60 may use any single communication method described above
  module 110. If the code string is not accepted, the storage or any combination thereof to provide telematics service, i.e.,
  module 110 will not be able to be removed.                          a combination of telecommunications and data transfer. For
    In another embodiment, the device 100 will further include       example, the device and server may communicate via CPRS
  a user verification module (UVM) 130. The user verification and/or 3G technology which will allow the transmission of
  module 130 will indicate and verify the identity of the user of 65 Voice and data over the same service. As another example, the
  the device 100. The user verification module 130 may execute device 100 and server 304 may communicate using WiMAX
  a password protection algorithm or may include an identity (e.g., IEEE 802.16) technology where data is transferred
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 26 of 46 Page ID #:26


                                                        US 9,261,365 B2
                                                                                                   10
  using the above-described Internet protocols and Voice com           external memory via the communication module 112 and
  munications is conducted using VoIP (Voice over Internet             processing module 120. When the user requests route guid
  Protocol).                                                           ance from the device 100, and using standard GPS computer
     The illustrative example below will describe the principles       processing power and systems, the device 100 provides route
  of the present disclosure with a positional information device,      guidance to the customer via the display module 104 (step
  e.g., a GPS device, used in conjunction with a vehicle.              410). In this manner, a user will be able to enter and/or
     Initially, in step 402, a user activates the device 100 for       program a positional information device with little or no
  telematics service in the vehicle. The activation may be ini effort.
  tialized by a single designated button, e.g., any one of the         In another embodiment of the present disclosure, a user
  plurality of buttons 108, a designation portion on the touch 10 may program the device 100 by using their local computer
  screen, by Voice recognition, etc. The user is now connected 306, which is coupled to the communications network 302,
  to a predetermined customer service center (CSC) via analog e.g., the Internet. The user may connect to server 304 via a
  or digital communications or any other type of communica client application program, e.g., a conventional web browser
  tion link that the telematics service may currently use as such as MicrosoftTM Internet Explorer, and enter a location
  described above. The telematics service identifies the vehicle 15 into the client application which the user would like to receive
  or device to the service center including the communications route guidance for Subsequently at their respective device
  channel to the vehicle, for example, the cellular phone num       100. Alternatively, the user may be browsing web sites resid
  ber to transmit information into the vehicle, or the Internet     ing on servers on the Internet and finds a location of interest
  address (e.g., IP address) of the vehicle. This identification that they are interested in receiving route guidance to. The
  information can be transmitted to the customer service center     user indicates to the remote server 304 via the client applica
  from the device or the customer service center can detect the     tion that he wants the specified address information of the
  user identity by conventional techniques such as caller ID and location of interest provided to the device 100. In one embodi
  then use this information to query a database to determine the ment, a tool bar may be implemented with the client applica
  USC.                                                              tion, so while a user is browsing web sites, the user will enter
    Once connected to the customer service center, the user can 25 the location of interest into the toolbarto be transmitted to the
  communicate with the customer service center with Voice              server 304 for coordinate determination. In another embodi
  communications or with a vehicle user interface (VUI) ment, a software plug-in may be provided to run with the
  including but not limited to keyboard, Voice recognition, or client application, e.g., the web browser, wherein while the
  mouse or pointer. In one embodiment, the customer service user is browsing web sites, a user will highlight, e.g., with a
  center includes a live operator 303 that has access to server 30 pointing device, an address displayed and by simply clicking
  304 for looking up address information and transmitting the on a portion of the displayed screen will transmit the location
  information to the device. In this embodiment, the user will      of interest to the server 304.
  interact with the live operator via Voice communications. In        When utilizing the client application program, the user
  another embodiment, the server 304 will interact electroni        may be identified at the server by an identifier, e.g., an Internet
  cally with the device. In this embodiment, the user may use 35 cookie, previously placed on the user's local computer 310.
  Voice commands and the Voice and/or speech recognition When transmitting the location of interest, the local computer
  algorithm in the device will convert the user's speech into 306 may also transmit the cookie information so the user may
  digital data which the device will transmit to the server 304. be identified at the server without having to provide this
  Alternatively, the user may interact with the server 304 via the information by manual input or spoken word. The remote
  vehicle user interface including the display module 104 and 40 server then utilizes a standard database lookup program,
  input module 106.                                                 based on the received identifier, to find out information on the
     In step 404, the telematics service then transmits a user user's device including the transmission information for the
  request via digital or analog communications to the remote device which may be the cellular telephone number of the
  customer service center (CSC). The user will use the VUI or device or a vehicle or the Internet address (e.g., the IP
  voice to tell the customer service center the address of the 45 address) of the device or vehicle.
  location that they need route guidance to. In the case of a live    The server 304 then resolves the address into longitude or
  operator 303, the live operator 303 will input this information latitude coordinates using standard computer processing
  into the server 304, or alternatively, if the customer has used power and computer programs on the global computer net
  aVUI that transmits this information directly to the customer work including but not limited to teraserver microsoft.com,
  service center, then this information is already in the server 50 geocoderus, yahoo.com, and maporama.com. The server 304
  304.                                                              then transmits the longitude and latitude information to the
     The customer service center server 304 then resolves the       designated customer GPS devices internal or external
  address, or alternatively, transmits the address to another memory. This transmission will be by any standard commu
  server on the global computer network (e.g., the Internet) and nications protocol now known or existing in the future as
  using standard computer processing power and computer 55 described above. The designated GPS device receives this
  address programs including but not limited to teraservermi longitude and latitude information, via communication mod
  crosoft.com, geocoderus, yahoo.com, and maporama.com ule 112, and stores it in internal or external memory. The
  resolves the address into exact longitude and latitude coordi customer then requests route guidance from the GPS device,
  nates (step 406).                                                 and using standard GPS computer processing power and sys
     Once the requested location information has been resolved, 60 tems, the positional information device provides route guid
  the server 304 will transmit this longitude and latitude infor ance to the user.
  mation to the designated customer GPS device's internal or           It is to be appreciated that the user may transmit multiple
  external memory, e.g., storage module 110 (step 408). This addresses to the server 304, and the server will use computer
  transmission will be by any standard communications proto processing power and Software programs to resolve the mul
  col now known or existing in the future as described above. 65 tiple addresses into multiple latitude and longitude coordi
  The designated GPS device receives this longitude and lati nates. The user may also transmit the time and date that each
  tude information and stores the information in internal or           address will be utilized. This information will also be trans
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 27 of 46 Page ID #:27


                                                        US 9,261,365 B2
                                 11                                                                 12
  mitted to the subject GPS device. The GPS device will then ment, the server 304 may periodically poll each device reg
  display the address at the specified date and time and route istered to a user to retrieve any entered address and store Such
  guidance for that address will be given. When the date and addresses in the database. In this embodiment, any address
  time changes, the GPS device will then display the next entered in any device belonging to the registered user will be
  specified and stored address on the date and time that corre accessible to the user at any other registered device of the user.
  sponds to that address.                                               The present disclosure will enable at least the following
     In another embodiment of the present disclosure, a method applications of the devices, systems and methods disclosed
  is provided for accessing address stored at a remote location, herein.
  another GPS device, etc. Referring to FIG. 5, a user activates        A driver is driving along in a vehicle and wishes not to stop
  the device for telematics service in the vehicle (step 502). 10 but needs direction to a destination. The driver pushes a
  Alternatively, the user may make the request for service from button on an embodiment of the device described above and is
  a site on the global computer network (e.g., the Internet). In connected to a service operator. Alternatively, the user may
  the case of telematics, the service then transmits a user
  request via digital or analog communications to the remote activate         the device by voice command. The user indicates the
                                                                     address of the location that he is interested in but is not sure of
  customer service center server 304 (step 504). Telematics       15
  identifies the device or vehicle to the customer service center    the city for the address. The service operator quickly locates
  including the communications channel to the vehicle, for the city of the address by using conventional address lookup
  instance the cellular phone number to transmit information database software. The service operator then inputs this
  into the device or vehicle, or the Internet address (e.g., IP address into the computer server that he/she is using. The
  address) of the vehicle. In the case of an Internet request, the operator then has the server contact the GPS device in the
  user will use their local computer 310 coupled to communi owner's vehicle and transmits the latitude and longitude coor
  cations network 302 to transmit the request to the server 304 dinates of the address to the vehicle's GPS device. The driver
  located at the customer service center. The user's device or       is thenable to utilize his/her GPS unit to get route guidance to
  vehicle is now connected to customer service center via ana        the specified address. All of the above has occurred without
  log or digital communications and can communicate with the 25 the driver ever having to take his/her hand off the steering
  customer service center with Voice communications or with a          wheel of the vehicle.
  vehicle user interface (VUI) including but not limited to key         A driver of a vehicle needs assistance in locating a point of
  board, or mouse or pointer.                                        interest Such as a museum in a designated city. The driver
     The user will now use the VUI or voice to tell the customer     presses the telematics button in the vehicle (or issues a voice
  service center that they need address information from 30 command) and is connected to a service operator. The opera
  another device or vehicle that has been registered with the tor identifies the vehicle and then the operator asks the driver
  customer service center or that will be registered with the for information on what museum they are looking for. Once
  customer service center. If the other device has been regis the service operator locates the museum for the driver, the
  tered, the user will provide a password, using Voice commu operator then submits the address of this museum to the server
  nications or the VUI, to allow the customer service center to 35 and the computer server resolves the address into latitude and
  unlock information stored in a standard database lookup pro longitude coordinates for the specified address. The service
  gram, Such information relating to the communications chan operator then transmits this information from the server to the
  nel (e.g., IP address or cellular phone number) of the regis memory of the driver's GPS device. The driver is then able to
  tered device (step 506). If the other device has not been obtain route guidance to his/her specified location.
  registered, then customer will provide with Voice communi 40 A driver of a vehicle needs route guidance to a specific
  cations or by using the VUI the communications channel to location. When the driver enters the address information into
  the device, e.g., the cellular phone number or the Internet the vehicle's GPS device, the device indicates to the driver
  address (e.g., IP address) of the device. The user would then that this address does not exist. The driver tries different
  also provide a password so either the server or live operator permeations of the address including different cities, different
  can be granted access to the other device.                      45 street numbers, and different spellings of the street. Unfortu
     The server 304 or operator 303 of the customer service nately, nothing works for the driver. The driver presses the
  center will then use the communications channel of the des         telematics button in the vehicle (or issues a voice command)
  ignated device or vehicle to contact the device and retrieve the and is connected to a service operator. The operator identifies
  stored address information from the internal or external           the vehicle and then the operator asks the driver for the infor
  memory of the GPS device (step 508). The designated device 50 mation on what address he is looking for. The service operator
  will then use standard communications protocols now known then places this information into the computer server. Using
  or existing in the future to transmit the stored address infor various associated information on the address including but
  mation on the external or internal memory back to the server not limited to the name of a person residing at the address, the
  304 or operator 303 of the customer service center. The server cross street that the address is at, the Zip code of the address,
  304 or operator 303 of the customer service center will then 55 the phone number of the address, alternative spellings of the
  transmit this address information to the user's current device     address, and other information on the address, the operator is
  or vehicle from where the user originated the request (step able to use this information, and various computer lookup
  510). The user may then request route guidance from the databases 307 including phone number reverse search data
  designated GPS device, and using standard GPS computer bases, Zip code lookup databases, aerial location programs
  processing power and systems, the device provides route 60 Such as Google Earth, address databases, business yellow
  guidance to the user (step 512).                                   page databases, mapping Software databases and other data
     The server 304 may also store and retain the address infor bases to resolve what is the correct address of the desired
  mation in its database 306 to provide this information on location. Once the service operator locates the correct
  request to the user at any future point in time. For example, in address, the operator then submits the address to the server
  the above described method, the server 304 may perform the 65 and the server resolves the address into latitude and longitude
  retrieving step (step 508) by simply retrieving a previously coordinates for the specified address. The service operator
  stored address from the database 306. In a further embodi          then transmits this information from the server to the memory
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 28 of 46 Page ID #:28


                                                          US 9,261,365 B2
                                 13                                                                   14
  of the driver’s GPS device. The driver is then able to obtain              at least one address stored in the identified at least one
  route guidance to the specified location.                                 sending positional information device.
     A driver wishes to be provided route information for a trip         2. The method as in claim 1, wherein the first identifier is at
  that they are taking. The driver goes online via a local com least one of a mobile phone number and an IP address.
  puter to the Internet or presses the telematics button in the          3. The method as in claim 1, wherein the at least one
  vehicle (or issues a voice command). In either case, the driver address is transmitted in at least one of longitude and latitude
  selects the itinerary for the trip including restaurants, hotels, coordinates and an address.
  other points of interest, and then the driver reviews and              4. The method as in claim 1, wherein the at least one
  approves the trip itinerary. Once the itinerary has been address              is graphically displayed on a map.
  approved, the user's computer transmits the latitude and lon 10 5. The method as in claim 1, wherein the request is received
  gitude coordinates of each planned stop to the memory of the
  user's GPS device along with the suggested time and/or date by6.Voice          communication.
  for each stop. Alternatively, the telematics service resolves of theThe         method as in claim 1, wherein the second identifier
                                                                             sending    positional information device is at least one of
  and transmits the latitude and longitude of each planned stop
  to the memory of the user's GPS device. The user is now able     15 a mobile   phone    number and an IP address.
  to start on the trip, and to receive complete route guidance           7. The method as in claim 1, wherein the retrieving the at
  information as it is needed and when it is needed.                  least one address includes retrieving the at least one address
     Adriverbooks a hotel reservation or a concert event online.      from a database residing on a server, the database being
  Once the reservation has been made, the driver asks the online      associated to the at least one sending positional information
  service to provide him with directions to the location. The device.
  driver indicates the communications link to the GPS device             8. A requesting positional information device for receiving
  (either a direct link or through a telematics service). The location information over a communication network, the
  reservation service computer then transmits the latitude and requesting positional information device comprising:
  longitude coordinates and date of the location to the requested        a locational information module for determining location
  vehicles GPS device. The GPS device then Stores this infor 25             information of the requesting positional information
  mation in memory. At the date and time that the user has                  device;
  stored, the GPS device will then provide the user with route           a communication module for receiving the address of the at
  guidance to the designated location.                                      least one location from the server;
     A driver of a vehicle needs route guidance information to           a processing    module configured to receive the address from
  an address that is stored in his/her other vehicle. The driver 30
  has no access to this vehicle because it is not geographically            the  communication      module and determine route guid
  close. The driver presses the telematics button in this vehicle           ance   based  on  the location  of the requesting positional
  (or issues a voice command) and is connected to a service                 information    device  and  the received address; and
  operator. The operator identifies the vehicle and with a pass          a display   module   for displaying  the route guidance; and
  word provided by the user establishes that the caller has 35 wherein the requesting positional information device sends
  security clearance to the requested information. The operator             a request to a server for the at least one address stored in
  then looks up the list of subject addresses that the driver has           the  at least one sending positional information device,
  stored for their vehicles, or in the event that the driver has            the request including a first identifier of the requesting
  stored the needed address in another vehicle's GPS memory,                positional device, wherein the requesting positional
  the operator communicates with the other vehicle's GPS sys 40             device receives the retrieved at least one address from
  tem and reads the list of addresses that are stored in memory.            the server such that the server determined a second iden
  In either event, the service operator then transmits the needed           tifier for identifying at least one sending positional infor
  address or addresses from the server they are operating into              mation device based on the received first identifier, and
  the memory of the GPS device in the subject vehicle. The                  the server retrieved the requested at least one address
  driver is then able to obtain route guidance to the specified 45          stored in the at least one sending positional information
  location.                                                                  device.
     While the disclosure has been shown and described with                9. The requesting positional information device as in claim
  reference to certain preferred embodiments thereof, it will be        8, wherein the first identifier is at least one of a mobile phone
  understood by those skilled in the art that various changes in number and an IP address.
  form and detail may be made therein without departing from 50 10. The requesting positional information device as in
  the spirit and scope of the disclosure as defined by the claim 8, wherein the at least one address is transmitted in at
  appended claims.                                               least one of longitude and latitude coordinates and an address.
     What is claimed is:                                            11. The requesting positional information device as in
     1. A method for receiving location information at a posi 55 claim
                                                                 map.
                                                                        8, wherein the address is graphically displayed on a
  tional information device, the method comprising:
     sending a request from a requesting positional information     12. The requesting positional information device as in
       device to a server for at least one address stored in at least   claim 8, wherein the communications network is a telematics
       one sending positional information device, the request network.
       including a first identifier of the requesting positional 60 13. The requesting positional information device as in
       information device;                                              claim 8, wherein the second identifier of the at least one
    receiving at the requesting positional information device,          sending positional information device is at least one of a
       from the server, a retrieved at least one address to the         mobile phone number and an IP address.
       requesting positional information device wherein the               14. The requesting positional information device as in
       server determines a second identifier for identifying the 65 claim 8, wherein the server retrieves the coordinates from a
       at least one sending positional information device based database residing on the server, the database being associated
       on the received first identifier and retrieves the requested to the at least one sending positional information device.
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 29 of 46 Page ID #:29


                                                      US 9,261,365 B2
                                15                                      16
     15. The requesting positional information device as in
  claim 8, wherein the server is operated by a live operator and
  the request for the at least one location is received by voice
  communications.
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 30 of 46 Page ID #:30




                           Exhibit 2
                 Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 31 of 46 Page ID #:31




                           Infringement Claim Chart for U.S. Pat. No. 9,261,365 vs. Exaktime (“Defendant”)

  Claim 1                                                        Evidence
1. A method for    Defendant (Exaktime) provides an application through which the user can receive real-time
receiving location location information of the field employee at positional information device (i.e. mobile phone in
information at a   which Exaktime app is running).
positional
information
device, the
method
comprising:




                    Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                                             1
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 32 of 46 Page ID #:32




  Source: https://www.exaktime.com/




                                      2
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 33 of 46 Page ID #:33




  Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                          3
                    Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 34 of 46 Page ID #:34




a)sending a             As shown below, sending a request from a positional information device (i.e. field employee mobile
request from a          phone in which Exaktime app is running) to Exaktime server for receiving real-time address of field
requesting              employee in positional information device (i.e. mobile device) which further includes a first identifier (i.e.
positional              admin login ID and password of Exaktime application) of the requesting positional information device
information device      (e.g., field employee mobile device in which app is running).
to a server for at
least one address
stored in at least
one sending
positional
information
device, the
request including
a first identifier of
the requesting
positional
information
device;




                        Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                                                     4
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 35 of 46 Page ID #:35




  Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                         5
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 36 of 46 Page ID #:36




  Source: https://identity.arcoro.com/account/login?application=tna




                                           6
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 37 of 46 Page ID #:37




  Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                          7
                  Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 38 of 46 Page ID #:38




c) wherein the        As shown below, the Exaktime server determines a second identifier (i.e. employee user login
server determines     credentials) for identifying a real-time address of an employee. Based on the first identifier (Admin
a second identifier   user login credentials) admin can identify a real-time address of the employee which is retrieved
for identifying the   through employee GPS stored in the employee sending positional information device (i.e. mobile
at least one          device)
sending positional
information device
based on the
received first
identifier and
retrieves the
requested at least
one address
stored in the
identified at least
one sending
positional
information
device.




                      Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                                               8
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 39 of 46 Page ID #:39




        Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                          9
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 40 of 46 Page ID #:40




  Source: https://identity.arcoro.com/account/login?application=tna




                                          10
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 41 of 46 Page ID #:41




  Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                         11
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 42 of 46 Page ID #:42




  Source: https://www.exaktime.com/time-clock-app/gps-tracking/




                                         12
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 43 of 46 Page ID #:43




                           Exhibit 3
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 44 of 46 Page ID #:44
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 45 of 46 Page ID #:45




                           Exhibit 4
Case 2:21-cv-07312-RGK-SK Document 1 Filed 09/13/21 Page 46 of 46 Page ID #:46
